
Compas Medical, P.C., as Assignee of Nelson JosneR, Appellant, 
againstPraetorian Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered October 3, 2014. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied; as so modified, the order is affirmed, without costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment. Defendant cross-moved for summary judgment dismissing the complaint, contending that it had timely denied the claims based on plaintiff's assignor's fraudulent procurement of the insurance policy, in that plaintiff's assignor had materially misrepresented his address in order to procure a lower insurance premium. By order entered October 3, 2014, the Civil Court denied plaintiff's motion and granted defendant's cross motion.
For the reasons stated in Compas Med., P.C., as Assignee of Nelson Josner v Praetorian Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op ______ [appeal No. 2014-2469 Q C], decided herewith), the order is modified by providing that defendant's cross motion for summary judgment dismissing the complaint is denied.
Pesce, P.J., Weston and Elliot, JJ., concur.
Decision Date: June 22, 2016










